

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-70,015-01






EX PARTE DAVID WAYNE GLOCKZIN, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 2004-760-C IN THE 54TH DISTRICT COURT


FROM MCLENNAN COUNTY





	Per curiam.

		

O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus. Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967). Applicant was convicted of aggravated sexual
assault of a child and indecency with a child and sentenced, respectively, to sixty and twenty years'
imprisonment. The Tenth Court of Appeals affirmed his convictions. Glockzin v. State, No. 10-06-00026-CR (Tex. App.-Waco, Feb. 21, 2007, pet. ref'd). 

	Applicant contends that trial counsel rendered ineffective assistance because he failed to
retain an expert and request testing to determine whether Applicant was a carrier of genital warts.
Applicant also contends that he entered into a binding plea agreement and that counsel should have
demanded specific performance of the agreement.  

	Applicant has alleged facts that, if true, might entitle him to relief. Strickland v. Washington,
466 U.S. 608 (1984); Ex parte Lemke, 13 S.W.3d 791,795-96 (Tex. Crim. App. 2000). In these
circumstances, additional facts are needed. As we held in Ex parte Rodriguez, 334 S.W.2d 294, 294
(Tex. Crim. App. 1960), the trial court is the appropriate forum for findings of fact. The trial court
shall provide Applicant's trial counsel with the opportunity to respond to Applicant's claims of
ineffective assistance of counsel. The trial court may use any means set out in Tex. Code Crim.
Proc. art. 11.07, § 3(d). In the appropriate case, the trial court may rely on its personal recollection. 
Id.

	If the trial court elects to hold a hearing, it shall determine whether Applicant is indigent. If
Applicant is indigent and wishes to be represented by counsel, the trial court shall appoint an
attorney to represent him at the hearing. Tex. Code Crim. Proc. art. 26.04. 

	The trial court shall make findings of fact as to whether the performance of Applicant's trial
counsel was deficient and, if so, whether Applicant was prejudiced. The trial court shall also make
findings of fact as to whether Applicant entered into a binding plea agreement that was accepted by
the trial court. The trial court shall make any other findings of fact and conclusions of law that it
deems relevant and appropriate to the disposition of Applicant's claims for habeas corpus relief.

	This application will be held in abeyance until the trial court has resolved the fact issues. The
issues shall be resolved within 90 days of this order. If any continuances are granted, a copy of the
order granting the continuance shall be sent to this Court. A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be returned to this Court within 120 days of the date of this order. If there is a reporter's record of
Applicant's original guilty plea, it shall also be returned to this Court within 120 days of the date of
this order. Any extensions of time shall be obtained from this Court. 




Filed: September 10, 2008

Do not publish


